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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
GAINESVILLE DIVISION

WAYNE DOUGLAS COBB, as
CoAdministrator of the Estate of
Jennifer Autumn Cobb, deceased, and
SUSAN MOON COBB, as Co-
Administrator of the Estate of Jennifer
Autumn Cobb,

Plaintiffs,

JEREMY GREEN, a/k/a Bob Green, and
YOUNG MEN’S CHRISTIAN
ASSOCIATION OF GEORGIA’S
PIEDMONT, INC.,

Defendants.

CIVIL ACTION FILE NO.

2:23-cv-00130-SCJ

SCHEDULING ORDER

Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan completed and filed by the Parties (Doc. No. [21]), the Court

orders that the following time limits apply to this case:

The discovery period ends, and discovery must be completed by

May 8, 2024.

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Motions for summary judgment must be filed by June 7, 2024.

If no summary judgment motion is filed on June 7, 2024, then the parties
shall submit a proposed consolidated pre-trial order no later than July 8, 2024.
Otherwise, the proposed consolidated pretrial order must filed within 30 days
after the Court's ruling on any pending motions for summary judgment.

The time limits for adding parties, amending the pleadings, filing other
motions, and discussing settlement are as set out in the Federal Rules of Civil
Procedure and the Local Rules of this Court.

IT IS SO ORDERED this _| Sth day of October, 2023.

fle CLs

HONORABLE STEVE C/JONES
UNITED STATES DISTRICT JUDGE

